                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                        AT KNOXVILLE

  UNITED STATES OF AMERICA                              )
                                                        )
  v.                                                    )       No. 3:20-CR-00021
                                                        )
  ANMING HU                                             )
                                                        )

       DEFENDANT’S MOTION TO ASK THE INTENTIONS OF THE U.S. ATTORNEY

          Now comes the Defendant Professor Anming Hu and moves this Honorable Court to in-

  quire of the United States whether they intend to retry his case.

          Professor Hu is still being incarcerated through home detention. Approximately three

  weeks have transpired since this case ended in a mistrial.

          Defendant has no ability to make plans nor commitments until he is advised whether the

  Government intends to conduct another Trial.

          WHEREFORE, Defendant respectfully requests that the Court inquire of the Government

  its intentions in this regard.

          Respectfully submitted this 6th day of July 2021.

                                                        s/A. Philip Lomonaco
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                                   CERTIFICATE OF SERVICE

           I do hereby certify that a copy of the foregoing document was filed electronically. Notice
  of this filing will be sent by operation of the Court’s electronic filing system to all parties indi-
  cated on the electronic filing receipt. All other parties will be served by U. S. Mail. Parties may
  access this filing through the Court’s electronic filing system.

                                                        s/A. Philip Lomonaco




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